Case 21-59325-bem    Doc 24   Filed 02/08/22 Entered 02/08/22 10:40:20     Desc Main
                              Document     Page 1 of 1




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                       )      CHAPTER 7
                                             )
SHEILA JUANITA MAYES,                        )      CASE NO. 21-59325-BEM
                                             )
             DEBTOR.                         )

 CORRECTED NOTICE OF RESCHEDULED MEETING OF CREDITORS

      On February 3, 2022, the Court entered an order vacating the order
dismissing the case. (Dkt. No. 20) Accordingly, the United States Trustee will
convene a meeting of creditors on March 1, 2022, at 8:50 a.m. The meeting will
be conducted by telephone conference call. To attend, dial: 866-909-7148. When
prompted, enter participant code: 4958999#. Pursuant to Bankruptcy Code
section 343, the debtor must appear and submit to examination under oath at the
meeting of creditors. The chapter 7 trustee, Greg Hays, will preside at the meeting.


                                       MARY IDA TOWNSON
                                       UNITED STATES TRUSTEE, REGION 21

                                       s/ Jeneane Treace
                                       R. Jeneane Treace
                                       Georgia Bar No. 716620
                                       United States Department of Justice
                                       Office of the United States Trustee
                                       362 Richard Russell Federal Building
                                       75 Ted Turner Drive, S.W.
                                       Atlanta, Georgia 30303
                                       (404) 331-4437
                                       jeneane.treace@usdoj.gov
